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                        IN THE UNITED STATES DISTRICT COURT
                             DISTRICT OF SOUTH DAKOTA
                                 WESTERN DIVISION

DAVID FINNEMAN,

                              Plaintiff,
v.                                                   Case No. 5:23-CV-05034-KES

UNITED STATES DEPARTMENT OF
AGRICULTURE, RISK MANAGEMENT
AGENCY, and FEDERAL CROP INSURANCE
CORPORATION,

                              Defendants.
                              ______________________________________________________

                   PLAINTIFF’S STATEMENT OF MATERIAL FACTS
                                                                                         ______

       COMES NOW the Plaintiff, David Finneman, and pursuant to Rule 56(c) of the Federal

Rules of Civil Procedure and Local Rule 56.1 submits the following Statement of Material Facts

as to which he contends there is no genuine issue:

       1. In crop year 2017, Plaintiff David Finneman applied for and was issued a policy of

Whole Farm Revenue Protection (WFRP) through Pro Ag, Policy No. 2017-46-987-1029811.

See Complaint Exhibit 1 (WFRP Policy) and Complaint Exhibit 2 (Pro Ag WFRP Schedule of

Insurance); Administrative Record 000086-000132.

       2. Following written submissions by the parties and oral argument of their respective

positions, Arbitrator David A. Allgeyer issued his June 20, 2022 (mislabeled “2020”), Findings,

Determinations, and Award. See Complaint Exhibit 11 (Findings, Determinations, and Award)

and Administrative Record 001187-001198.

       3. Arbitrator Allgeyer awarded Finneman the additional WFRP indemnity under the

subject policy, but net of the additional premium previously refunded by Pro Ag. See Complaint
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Exhibit 11 (Findings, Determinations, and Award) and Administrative Record at 001198.

       4. On July 19, 2022, Pro Ag filed with this Court in a separate action a Petition for

Vacatur, or in the Alternative, Nullification of the Arbitration Award, with this Court, Producers

Agriculture Insurance Company v. David Finneman, Case No. 5:22-cv-05062.

       5. On October 7, 2022, Finneman filed his Answer and Counterclaim to Pro Ag’s

Petition requesting confirmation of the arbitration award and, alternatively, seeking the award of

compensatory damages, punitive damages, and attorney’s fees and costs under state law and as

permitted by 7 CFR §400.352(b)(4).

       6. Contemporaneously with his Counterclaim, David Finneman requested an RMA

determination pursuant to Section 33 of the WFRP Policy and 7 CFR §400.352(b)(4), that Pro

Ag failed to comply with the terms of Finneman's 2017 federally reinsured crop insurance policy

and the procedures of the FCIC, which resulted in Finneman receiving payment in an amount

less than the amount to which he was entitled. See Complaint Exhibit 12 (October 7, 2022, Letter

to Manzano) and Administrative Record 001081-001097.

       7. On October 31, 2022, Defendant RMA issued a final decision letter denying Plaintiff

David Finneman’s request for a non-compliance determination, which read as follows:

without authority to issue a noncompliance determination. RMA wrote as follow:

       The Office of Compliance has received your October 7, 2022, request for a
       determination, pursuant to section 33 of the 2017 Whole Farm Revenue
       Protection Pilot Policy (“WFRP Policy”) and 7 CFR § 400.352(b)(4).

       You sought a determination from the Deputy Administrator of Compliance
       (DAC) that Producers Agriculture Insurance Company failed to comply with the
       terms of the 2017 WFRP Policy and applicable Federal Crop Insurance
       Corporation procedures, that resulted in you receiving payment in an amount less
       than you were entitled to receive.

       Regretfully, the 2017 WFRP Policy, which the arbitration was based on, does
       not have a contract provision that authorizes the DAC to provide such a

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       determination. As a result, the DAC cannot issue a determination for this case.
       If you intend to pursue judicial review, you must do so without a determination
       from the DAC.

See Complaint Exhibit 13 (RMA Confirming Request for Determination) and Administrative

Record 00002-00003.

       8. On November 29, 2022, Finneman filed a timely appeal of RMA’s adverse decision

through Defendant USDA’s National Appeals Division (NAD). See Complaint Exhibit 14

(November 29, 2022, NAD Appeal Request) and Administrative Record 00004.

       9. On February 22, 2023, Hearing Officer Ryan M. Eagleson upheld Defendant RMA’s

refusal to render a noncompliance determination.

       10. Finneman filed a timely request for review by the NAD Director, and on April 25,

2023, USDA-NAD Director Frank M. Wood issued a determination dated upholding Hearing

Officer Eagleson’s decision. See Complaint Exhibit 15 (NAD Appeal Determination) and

Administrative Record at 001295-001304; and Complaint Exhibit 16 (Notice of Request for

Director Review) and Administrative Record 001305.

       11. Having exhausted all administrative remedies, on May 24, 2023, Plaintiff David

Finneman filed his Complaint in the United States District Court for the District of South

Dakota, under 5 USC §701, et. seq., seeking to set aside the adverse determination of the Agency

Defendants as arbitrary and capricious, contrary to controlling law and unsupported by

substantial evidence.




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                                                      Respectfully submitted,

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                                                      /s/ Naomi R. Cromwell
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                                 CERTIFICATE OF SERVICE

       I, NAOMI R. CROMWELL, attorney for Plaintiff in the above styled and numbered

cause, do hereby certify that I have this day served by electronic means through the Court’s

electronic filing system pursuant to Fed. R. Civ. P. 5(b)(2)(E) a true and correct copy of the

foregoing pleading to Stephanie Bengford, AUSA, District of South Dakota, 325 South First

Avenue, Suite 300, Sioux Falls, South Dakota 57101-2638.

       THIS, the 25th day of March, 2024.


                                                             /s/Naomi R. Cromwell
                                                             NAOMI R. CROMWELL

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